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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JAMES A. CARSON, JR.,                              :
    Plaintiff                                      :           No. 1:17-cv-01263
                                                   :
         v.                                        :           (Judge Kane)
                                                   :
JESSICA M. AURAND, et al.,                         :
     Defendants                                    :

                                                ORDER

THE BACKGROUND OF THIS ORDER IS AS FOLLOWS:

         Plaintiff James A. Carson, Jr. (“Plaintiff”) initiated the above-captioned action by filing a

complaint in this Court on July 18, 2017, pursuant to 42 U.S.C. § 1983, et seq., alleging, inter

alia, that his civil rights were violated when he “was detained and incarcerated for allegations of

sexual assault against his niece.” (Doc. No. 1 ¶ 9.) According to the complaint, Plaintiff was

criminally tried as a result of such allegations and ultimately “acquitted of all charges.” (Id.

¶ 21.) Plaintiff alleges that due to “Defendants’ negligence in conducting their investigation [of

Plaintiff] . . . Plaintiff suffered grave harm.” (Id. ¶ 24.)

         After conducting discovery pursuant to the Court’s December 11, 2017 Case

Management Order (Doc. No. 23), Defendant Jessica M. Aurand (“Defendant”) filed an

unopposed motion for leave to file documents under seal on June 13, 2018 (Doc. No. 28).

Defendant states that on January 2, 2018, the parties “executed a [c]onfidentiality [a]greement,

whereby [they] sought to limit the production of certain sensitive documents and material

marked ‘CONFIDENTIAL’ by any party producing the same through the course of discovery.”1

(Id. ¶ 2.) Further, Defendant asserts that during discovery, “public and private agencies/entities

produced certain materials” that have been deemed confidential under the agreement. (Id. ¶ 5.)

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    A copy of the agreement has been filed as an exhibit the instant motion. (Doc. No. 28, Ex. A.)
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According to Defendant, who subsequently filed a motion for summary judgment on June 18,

2018 (Doc. No. 30), “[i]n order to adequately seek summary judgment, [Defendant] must attach

as exhibits certain [c]onfidential [i]nformation” produced by during discovery, and said exhibits

“contain privileged and sensitive information,” including sensitive information pertaining to a

minor, the Plaintiff, and certain third parties (Doc. No. 28 ¶ 9).2 In addition, Defendant states

that redaction, alone, would not provide sufficient protection of this confidential information.

(Id. ¶ 10.)

          Although Plaintiff does not oppose Defendant’s motion (id. ¶ 17), the Court must

determine whether the requested relief is warranted, in light of the “the common law right to

public access” with regard to court records. See In re Cendant Corp., 260 F.3d 183, 194 (3d Cir.

2001) (citing Littlejohn v. Bic Corp., 851 F.2d 673, 678 (3d Cir. 2001)). However, “courts have

also recognized the accompanying principle that ‘the right is not absolute.’” See id. (citing

Littlejohn, 852 F.3d at 678). Accordingly, “the presumption of access ‘must be balanced against

the factors militating against access.’” See, e.g., Danielson v. Tropical Shipping & Constr. Co.,

Ltd., No. 15-cv-0045, 2016 WL 715744, at *2 (D.V.I. Feb. 22, 2016) (quoting Leucadia, Inc. v.

Applied Extrusion Techs., Inc., 998 F.2d 157, 165 (3d Cir. 1993)). To that end, “[t]he party

seeking to seal any part of a judicial record bears the heavy burden of showing that ‘the material

is the kind of information that courts will protect’ and that ‘disclosure will work a clearly defined

and serious injury to the party seeking closure.’” Miller v. Indiana Hosp., 16 F.3d 549, 551 (3d

Cir. 1994) (quoting Publicker Indus., Inc. v. Cohen, 733 F.2d 1059, 1071 (3d Cir. 1984)).

          In light of the standard described supra, the Court concludes that, balancing the

competing interests involved, sealing of the relevant exhibits to Defendant’s motion for summary



2
    The relevant exhibits are currently filed under seal.
                                                    2
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judgment is warranted. As mentioned previously, the documents Defendant wishes to file under

seal implicate, inter alia, the privacy interests of a minor in the context of an investigation of

sexual abuse allegations (Doc. Nos. 1, 28), which weigh in favor of granting Defendant’s

request. See Pansy v. Borough of Stroudsburg, 23 F.3d 772, 787 (3d Cir. 1994) (stating that

“[o]ne interest which should be recognized in the balancing process is an interest in privacy” and

explaining that “[i]t is appropriate for courts to order confidentiality to prevent the infliction of

unnecessary or serious pain on parties [whom] the [C]ourt reasonably finds are entitled to such

protection”). Although the general public has a countervailing interest in accessing court

records, the Court concludes that, in light of the nature of the above-captioned action and its

impact on a minor’s privacy interests, it is an appropriate exercise of the Court’s discretion to

permit the relevant exhibits to be filed under seal. See, e.g., Zurich Am. Ins. Co. v. Rite Aid

Corp., 345 F. Supp. 2d 497, 500 (E.D. Pa. 2004) (quoting In re Cendant Corp., 260 F.3d at 192)

(noting “[i]t is well-settled that the Court ‘has supervisory power over its own records and files’”

and acknowledging district court’s “discretion to decide issues regarding the sealing of the

record”).

       ACCORDINGLY, on this 24th day of July 2018, in consideration of the foregoing, IT

IS ORDERED THAT Defendant’s motion for leave to file documents under seal (Doc. No. 28),

is GRANTED, and Defendant may file as exhibits to her motion for summary judgment (Doc.

No. 30), any confidential information – as so characterized in accordance with the parties’

confidentiality agreement – under seal. IT IS FURTHER ORDERED THAT the Clerk is

directed to accept and maintain such filings under seal.

                                                       s/ Yvette Kane
                                                       Yvette Kane, District Judge
                                                       United States District Court
                                                       Middle District of Pennsylvania

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